944 F.2d 900
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Dorothy BRADLEY, widow of Floyd Bradley, Petitioner,v.DIRECTOR, OFFICE OF WORKERS' COMPENSATION PROGRAMS, UNITEDSTATES DEPARTMENT OF LABOR, Respondent.
    No. 91-1719.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 26, 1991.Decided Sept. 16, 1991.
    
      On Petition for Review of an Order of the Benefits Review Board.  (88-3071-BLA)
      Vernon M. Williams, petitioner pro se.
      David S. Fortney, Donald S. Shire, Barbara J. Johnson, Cheryl C. Blair-Kijewski, United States Department of Labor, Washington, D.C., for respondent.
      Ben.Rev.Bd.
      AFFIRMED.
      Before WILKINSON and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Dorothy Bradley seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C. §§ 901-945.   Our review of the record and the Board's decision and order discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the Board.   Bradley v. Director, Office of Workers' Compensation Programs, 88-3071-BLA (Ben.Rev.Bd. Jan. 29, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    